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             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                           CHAPTER 13 CASE NO:

YOLANDA STEWART                                             19-11188-JDW

                 NOTICE OF OBJECTION TO PROOF OF CLAIM

       YOU ARE HEREBY NOTIFIED that an objection to your claim has been filed
in the above referenced bankruptcy case. Your claim may be reduced, modified, or
eliminated. If you do not want the Court to eliminate or change your claim, a written
response to the attached objection to proof of claim must be filed with:

                          Shallanda J. Clay, Clerk of Court
                              U. S. Bankruptcy Court
                           Northern District of Mississippi
                              703 Highway 145 North
                                Aberdeen, MS 39730

and a copy must be served on the undersigned Chapter 13 Trustee and the Debtor(s)
attorney on or before thirty (30) days from the date of this notice. In the event a
written response is filed, the court will notify you of the date, time and place of the
hearing thereon.

      Dated: August 29, 2019.
                                        LOCKE D. BARKLEY,
                                        CHAPTER 13 TRUSTEE

                                  By:   /s/ Melanie T. Vardaman
                                        ATTORNEYS FOR TRUSTEE
                                        W. Jeffrey Collier (MSB 10645)
                                        Melanie T. Vardaman (MSB 100392)
                                        6360 I-55 North, Suite 140
                                        Jackson, Miss. 39211
                                        (601) 355-6661
                                        ssmith@barkley13.com
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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                            CHAPTER 13 CASE NO.:

YOLANDA STEWART                                              19-11188-JDW

                 OBJECTION TO PROOF OF CLAIM (CLAIM. #21-1)

       COMES NOW Locke D. Barkley, Chapter 13 Trustee (the “Trustee”), by and

through counsel, and files this Objection to the Proof of Claim (Claim #21-1) (the

“Objection”); and in support thereof states as follows:

       1.     The Debtor’s petition was filed herein on March 20, 2019, and the last

date for a non-governmental entity to file a Proof of Claim was May 29, 2019.

       2.     On August 23, 2019, Womens Health Specialist (the “Creditor”) filed its

Proof of Claim in the amount of $101.42 (Claim #21-1) (the “Claim”).

       3.     The Claim was not timely filed. The Trustee requests that the Claim be

disallowed.

       WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests

that the Court sustain the Objection and deem the Claim disallowed.

Dated: August 29, 2019.
                                          Respectfully submitted,
                                          LOCKE D. BARKLEY
                                          CHAPTER 13TRUSTEE

                                   By:    /s/ Melanie T. Vardaman
                                          ATTORNEYS FOR TRUSTEE
                                          W. Jeffrey Collier (MSB 10645)
                                          Melanie T. Vardaman (MSB 100392)
                                          6360 I-55 North, Suite 140
                                          Jackson, Miss. 39211
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                            CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I
electronically filed the foregoing with the Clerk of Court using the CM/ECF system,
and I hereby certify that I either mailed by United States Postal Service, first class,
postage prepaid, or electronically notified through the CM/ECF system, a copy of
the above and foregoing to the Debtor, attorney for the Debtor, the United States
Trustee, and other parties in interest, if any, as identified below.

      Womens Health Specialist
      c/o Wakefield and Associates, Inc.
      Post Office Box 50250
      Knoxville, TN 37950-0250

Dated: August 29, 2019

                                        /s/ Melanie T. Vardaman
                                        MELANIE T. VARDAMAN
